Case 4:15-cV-OO422 Document 9 Filed in TXSD on 03/11/15 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

Adams Resc)urces & Energy Inc.,
et al,
Plaintiffs,

§
§
§
§
v. § Civil Action NO. H-15-422
§
Ranger Insurance CO., et al, §

§

§

Defendants.

ORDER

Pursuant to the Joint Stipulation of Dismissal Without Prejudice filed 0n March
10, 20]5, the above-styled action shall be and is hereby dismissed Without prejudice
pursuant to Federal Rule 0f Civil Procedure 41(a)(1)(A)(ii).

The Clerk shall send a true copy to all counsel 0f record.
signed this // day Of March, 2015.

DAVID HITTNER
United States District Judge

 

